Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 1 of 11 PageID# 513



          IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF VIRGINIA

                        Alexandria Division


UNITED STATES OF AMERICA,         )
                                  )
          v.                      )
                                  )       1:11cr199 (JCC)
EDWARD MACAULEY, et al.,          )
                                  )
     Defendants.                  )


                 M E M O R A N D U M         O P I N I O N

          This matter is before the Court on Defendant

Theophilus Akwei’s Motion to Sever and/or for Continuance [Dkt.

76], Defendant Joseph Duodo’s Motion for Bill of Particulars

[Dkt. 42] and Motion for Disclosure of Co-Conspirators [Dkts.

39, 41], and the Government’s Motion to Exclude Polygraph

Evidence [Dkt. 75].    For the following reasons, the Court will

deny Defendants’ motions and grant the Government’s motion.

                             I.   Background

          On April 28, 2011, a grand jury sitting in the Eastern

District of Virginia returned a multiple count indictment

against Defendants Edward Macauley, Nuru [Last Name Unknown],

Frank Ehiobe, Fred Oppong Brobbey, William Andoh, Theophilus

Akwei, Joseph Duodo, and Matilda Antwi (collectively, the

“Defendants”).   [Dkt. 1.]    In the superseding indictment [Dkt.

63], Defendants were indicted for different combinations of six


                                      1
    Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 2 of 11 PageID# 514



counts.      Count One is violation of 21 U.S.C. § 963 (conspiracy

to import heroin).        Counts Two, Three, Four, and Five are

violations of 21 U.S.C. §§ 959(a), 960 (distribution for purpose

of unlawful importation of heroin).           Count Six is violation of

21 U.S.C. § 841 (possession with intent to distribute heroin).

Akwei and Duodo were both charged with violating Counts One,

Four, and Six.1       Joint trial is set for November 15, 2011.

              On July 29, 2011, Duodo moved for disclosure of co-

conspirators.        [Dkts. 39, 41.]    Then, on August 2, 2011, Duodo

filed a motion for a bill of particulars.            [Dkt. 42.]    On

September 21, 2011, Akwei moved for severance and/or for

continuance of the trial date.          [Dkt. 76.]    The Government

opposes these motions.         [Dkts. 53, 57, 77.]     The Government also

moves to exclude polygraph evidence as to Akwei.             [Dkt. 75.]

This motion is unopposed.

              Akwei and Duodo’s motions and the Government’s motion

are before the Court.

               II.    Motion to Sever and/or for Continuance

              A.     Standard of Review

              Federal Rule of Criminal Procedure 14 allows for the

severance of defendants’ trials when “joinder of offenses or

defendants in an indictment . . . or a consolidation for trial


1
  Duodo’s motion for a bill of particulars was based on the superseded
indictment, in which Duodo was charged with violating Counts One, Four, and
Five.

                                        2
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 3 of 11 PageID# 515



appears to prejudice a defendant.”       Fed. R. Crim. P. 14(a).      A

defendant is not, however, entitled to severance merely because

he might have had a better chance of acquittal in a separate

trial.   United States v. Lighty, 616 F.3d 321, 348 (4th Cir.

2010).   And when a motion for severance “is based on the

asserted need for a codefendant's testimony, the moving

defendant must establish (1) a bona fide need for the testimony

of his co-defendant, (2) the likelihood that the co-defendant

would testify at a second trial and waive his Fifth Amendment

privilege, (3) the substance of his co-defendant's testimony,

and (4) the exculpatory nature and effect of such testimony.”

United States v. Parodi, 703 F.2d 768, 779 (4th Cir. 1983).           If

the moving defendant meets this burden, the court should then

“(1) examine the significance of the testimony in relation to

the defendant's theory of defense; (2) assess the extent of

prejudice caused by the absence of the testimony; (3) pay close

attention to judicial administration and economy; (4) give

weight to the timeliness of the motion, and (5) consider the

likelihood that the co-defendant’s testimony could be

impeached.”     Id.

           B.     Analysis

                  1.   Severance

           Akwei argues that the trial of his case should be

severed from that of the co-defendants because he needs time to

                                    3
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 4 of 11 PageID# 516



obtain potentially significant exculpatory evidence.

Specifically, he asserts that one or more co-defendants

currently in Ghana undergoing extradition would generally

provide testimonial evidence that Akwei had no knowledge of the

heroin conspiracy and had no knowledge that any of his conduct

was related to the conspiracy.      The Government opposes the

motion arguing that there is no reason to believe that the co-

defendants in Ghana will exculpate Akwei.

             The Government argues that Akwei has not met his

initial burden of establishing a likelihood that the co-

defendants in Ghana would testify at a second trial or

establishing the exculpatory nature and effect of such

testimony.    The Government points out that there is no evidence

to suggest that these co-defendants would take the stand, much

less do so in defense of Akwei.      The Government further argues

that Akwei has offered merely his speculation about the kind of

testimony the co-conspirators in Ghana might provide.

             This Court agrees.   There is nothing to suggest a

“reasonable probability . . . that the proffered testimony

would, in fact materialize” and that the “co-defendant would

have waived his Fifth Amendment right.”       Parodi, 703 F.2d at

780.   And “[t]he requirement that the movant establish the

‘exculpatory nature and effect’ of the co-defendant's testimony

demands more than a ‘vague and conclusory’ statement of counsel

                                    4
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 5 of 11 PageID# 517



of facts ‘of purely cumulative or negligible weight or probative

value.’”   Id. (quoting United States v. Butler, 611 F.2d 1066,

1071 (5th Cir. 1980)).     This is the case here, especially as

there is no suggestion as to why the defendants in Ghana would

exculpate Akwei when the ones in the United States will not.

Motions for severance premised on the absence of a co-

defendant’s testimony must be accompanied by more than a bare,

unsupported contention that a separate trial would afford

exculpatory testimony.     Thus, the motion for severance is

denied.

                2.    Continuance of the Trial Date

           Akwei also asks this Court for a continuance of the

trial date.   The decision to grant a motion for continuance is

committed to the trial court's discretion.        United States v.

Williams, 445 F.3d 724, 738-39 (4th Cir. 2006).         Pursuant to

Local Rule 7(G), the Court will not grant motions for

continuances of a trial or hearing date “other than for good

cause and upon such terms as the Court may impose.”         Akwei

argues for a continuance for the same reason he argues for

severance – to gain time to potentially obtain testimony of co-

defendants currently in Ghana.      This Court has already

determined that proceeding to trial on November 15, 2011 serves

the best interests of justice, particularly as the Government

cannot assure the appearance of the Ghanaian defendants at any

                                    5
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 6 of 11 PageID# 518



particular point in time.     Accordingly, the motion for

continuance is denied.

                 III. Motion for Bill of Particulars

           A.    Standard of Review

           Pursuant to Federal Rule of Criminal Procedure 7(f),

the Court may direct the Government to file a bill of

particulars.    Fed. R. Crim. P. 7(f).     The decision whether to

grant or deny a motion for a bill of particulars is within the

sound discretion of the trial court.       United States v. Anderson,

481 F.2d 685, 690 (4th Cir. 1973).

           The purpose of a bill of particulars is “to enable a

defendant to obtain sufficient information on the nature of the

charge against him so that he may prepare for trial, minimize

the danger of surprise at trial, and enable him to plead his

acquittal or conviction in bar of another prosecution for the

same offense.”    United States v. Schembari, 484 F.2d 931, 934-

935 (4th Cir. 1973) (citing United States v. Dulin, 410 F.2d

363, 364 (4th Cir. 1969)).     It “is not to be used to provide

detailed disclosure of the government's evidence in advance of

trial.”   United States v. Automated Med. Labs., Inc., 770 F.2d

399, 405 (4th Cir. 1985) (citing Anderson, 481 F.2d at 690).

Instead, a bill of particulars “merely amplifies the indictment

by providing missing or additional information so that the

defendant can effectively prepare for trial.”        United States v.

                                    6
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 7 of 11 PageID# 519



Fletcher, 74 F.3d 49, 53 (4th Cir. 1996) (citations omitted).

If “the indictment adequately details the charges, or the

information requested is otherwise available, then no bill of

particulars is required.”      United States v. Esquivel, 755 F.

Supp. 434, 436 (D.D.C. 1990) (citation omitted).

          B.     Analysis

                 1.   Dates and Specific Time

          Duodo contends that he is entitled to a bill of

particulars because the indictment fails to identify the period

of time during which he was allegedly involved in the heroin

conspiracy.    Courts have held that information concerning the

time period during which a defendant is alleged to have been

knowingly involved in a conspiracy is not essential to effective

preparation for trial.      See United States v. Fiel, No.

3:10cr170-6, 2010 WL 3385147, at *2 (E.D. Va. Aug. 20, 2010)

(finding the dates of conspiracy offenses, including the date

that the defendant entered the conspiracy, nonessential); United

States v. Stroop, 121 F.R.D. 269, 273 (E.D.N.C. 1988) (“Details

as to how and when the conspiracy was formed, or when each

participant entered it, need not be revealed before trial.”)

(citation omitted).    “Where a particular date is not a

substantive element of the crime charged, strict chronological

specificity or accuracy is not required in the indictment.”

United States v. Guild, No. 1:07cr404, 2008 WL 110455, at *3

                                    7
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 8 of 11 PageID# 520



(E.D. Va. Jan. 8, 2008) (quoting United States v. Smith, 441

F.3d 254, 261 (4th Cir. 2006)).

          The superseding indictment includes six counts and

runs seventeen pages.    Count One alleges conspiracy to import

heroin, and reveals the date and location of the overt act

allegedly perpetrated by Duodo in furtherance of the conspiracy.

Moreover, during oral argument, the Government represented that

it has opened its files to Duodo and made extensive discovery

available to him and his co-defendants.       Accordingly, the Court

concludes that Duodo has been given sufficient information to

mount an effective defense.       See United States v. Butler, 822

F.2d 1191, 1193-94 (D.C. Cir. 1987) (affirming district court’s

denial of motion for bill of particulars where indictment did

not state time at which defendant entered and exited alleged

conspiracy, but did recount dates of overt acts); Schembari, 484

F.2d at 935 (upholding the trial judge’s denial of a bill of

particulars because “the underlying objectives of a Rule 7(f)

motion were fully satisfied by the government’s voluntary

disclosure of its file”).

                2.    Knowledge

          Duodo next argues that a bill of particulars is

warranted because the indictment fails to allege whether and how

he knew that he was in possession of heroin.        The superseding

indictment clearly alleges the elements of knowledge and intent

                                     8
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 9 of 11 PageID# 521



as to Counts One, Four, and Six.         The Government’s theory of

Defendant’s knowledge, however, need not be revealed in an

indictment.       See United States v. Agostino, 132 F.3d 1183, 1191

(7th Cir. 1997); see also United States v. Taylor, No.

3:04cr227, 2005 WL 2298170, at *4 (E.D. Va. Sept. 21, 2005)

(denying request for bill of particulars that would have forced

the Government to disclose the manner in which it would prove

the charges or preview its theory of the case) (citation

omitted).   Duodo has been provided with a concise statement of

the elements of the offenses he allegedly committed, and has

sufficient facts so that he is aware of the charges against

which he must defend.      For these reasons, the Court denies

Defendant’s request for information concerning the knowledge

element of the counts with which he has been charged.

            IV.     Motion for Disclosure of Co-Conspirators

            Duodo also requests that the Government disclose the

identities of any and all unnamed co-conspirators.         Whether the

Government must furnish the names of co-conspirators to a

defendant lies within the trial court’s discretion.         See United

States v. Jackson, 757 F.2d 1486, 1491 (4th Cir. 1985) (finding

no abuse of discretion in denial of motion for bill of

particulars seeking the names of persons that the Government

alleged to be in the conspiracy).        Where an indictment, as here,

sets forth the discrete acts evidencing a defendant’s

                                     9
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 10 of 11 PageID# 522



involvement in a conspiracy, courts have held that the

identities of co-conspirators need not be revealed.            See United

States v. Frye, No. 5:01-CR-30058, 2002 WL 385574, at *2 (W.D.

Va. Feb. 20, 2002).      Duodo fails to explain how the disclosure

of “any and all” unnamed co-conspirators is essential to an

effective defense or necessary to avoid unnecessary surprise.

Accordingly, Duodo’s motion for disclosure of co-conspirators is

denied.2

               V.   Motion to Exclude Polygraph Evidence

             On September 12, 2011, defense counsel for Akwei

informed attorneys for the United States that his client had

taken a polygraph examination in connection with this case.

[Dkt. 75.]    The Fourth Circuit has long recognized that

polygraph evidence is inadmissible at trial.           See United States

v. Dotson, 324 F.3d 256, 261 (4th Cir. 2003).           During oral

argument, defense counsel conceded that polygraph evidence

should be excluded.      Thus, the Court grants the Government’s

motion and orders that all polygraph references and results

shall be excluded from trial.        Defense counsel for Akwei shall



2
  In his reply, Duodo asserts that one of the co-conspirators whose identity
he seeks is an informant – namely, the courier who delivered the carry-on bag
of heroin to him on February 21, 2011. Applying the balancing test set forth
in Roviaro v. United States, 353 U.S. 53 (1957), courts have been more
willing to require disclosure of an informant’s identity where he is an
active participant in the alleged misconduct. See McLawhorn v. North
Carolina, 484 F.2d 1, 5 (4th Cir. 1973). During oral argument, the parties
stated that the identity of the courier had been revealed to Duodo. Duodo
identifies no other informant with information relevant to his charges.

                                     10
Case 1:11-cr-00199-CMH Document 81 Filed 10/13/11 Page 11 of 11 PageID# 523



admonish his client that no such reference shall be made at

trial.

                             VI. Conclusion

           For these reasons, the Court will deny the Motion to

Sever and/or for Continuance, the Motion for Bill of

Particulars, and the Motion for Disclosure of Co-Conspirators.

The Court will grant the Government’s Motion to Exclude

Polygraph Evidence.

           An appropriate Order will issue.




                                               /s/
October 13, 2011                         James C. Cacheris
Alexandria, Virginia             UNITED STATES DISTRICT COURT JUDGE




                                    11
